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 6   Attorney for Defendant
     SHERLYN CHARLES
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 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                   )
     UNITED STATES OF AMERICA                            Case No.: 2:14-cr-0239−GEB
                                                     )
11                                                   )
                           Plaintiff,                    STIPULATION AND ORDER TO
                                                     )   CONTINUE STATUS CONFERENCE
12                                                   )
     vs.                                             )
13                                                   )
     SHERLYN CHARLES,                                )
14                                                   )
                  Defendant
                                                     )
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            The United States of America, through its counsels of record, Mc Gregory W. Scott,
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     United States Attorney for the Eastern District of California, and Jason Hitt, Assistant United

19   States Attorney, and defendant Sherlyn Charles, through her attorney, Ronald Peters, Esq, hereby
20   stipulate and agree that the sentencing scheduled for October 26, 2018 at 9:00 am shall be
21
     continued to January 11, 2019 at 9:00 am.
22
            Defendant needs additional time to prepare a Memorandum in Aid of Sentencing
23

24   primarily addressing 3553 factors.

25          Accordingly the defendant agrees that a Local Rule T-4 exclusion would be applicable.
26
            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1   Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
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     time be excluded under this provision October 26, 2018 through January 11, 2019.
 3
                                                         Respectfully Submitted,
 4                                                       MC GREGORY W. SCOTT
 5
                                                         United States Attorney

 6
     DATE: September 24, 2018                            /s/ Ron Peters for Jason Hitt    _
 7                                                       JASON HITT
 8                                                       Assistant U.S. Attorney

 9
     DATE: September 24, 2018                            /s/Ron Peters                   __
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                                                         RON PETERS
11                                                       Attorney for Defendant
                                                         Sherlyn Charles
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                              STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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 1                                              PROPOSED ORDER
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             The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
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 5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

 6   defense counsel reasonable time necessary for effective preparation, taking into account the
 7   exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
 8
     the ends of justice served by the granting of such continuance outweigh the interests of the public
 9
     and that the time from the date of the stipulation, October 26, 2018, to and including January 11,
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11   2019.

12           It is so ordered.
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             Dated: September 25, 2018
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                                 STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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